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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  TELEBRANDS CORPORATION,                           Civil Action No. 16-3474 (EP)(MAH)

                  Plaintiff,

   v.                                               MEDIATION REFERRAL AND
                                                    ADMINISTRATIVE TERMINATION
  RAGNER TECHNOLOGY                                 ORDER
  CORPORATION, et al.,

                  Defendants.

        THE COURT HAVING DETERMINED that this action should be referred to mediation

 pursuant to Local Civil Rule 301.1,

        IT IS on this day, March 8, 2023, ORDERED that:

    1. The parties are referred to mediation before Judge Jose Linares (ret.), a District of New

        Jersey Certified Mediator, subject to the mediator’s completion of a conflicts check. The

        parties shall contact the mediator to schedule the mediation session. The mediator’s

        contact information is available on the Court’s website at

        https://www.njd.uscourts.gov/sites/njd/files/MasterListMediation.pdf.

    2. The parties shall complete mediation on or before May 31, 2023.

    3. Pending the completion of mediation, the action shall be administratively terminated,

        without prejudice to restoration to the active docket at the conclusion of mediation.

    4. Discovery shall be stayed pending the completion of mediation.

    5. The parties shall appear for a telephonic status conference before the undersigned on June

        8, 2023 at 10:00 a.m. The parties shall submit a concise joint status letter to the Court

        no later than one week in advance of the conference. Dial-in information for the

        conference is 1-888-684-8852 access code 1456817#.
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                                      s/Michael A. Hammer
                                     Hon. Michael A. Hammer
                                     United States Magistrate Judge
